  Case: 1:19-cv-00964-MRB Doc #: 76 Filed: 07/07/21 Page: 1 of 3 PAGEID #: 1776

                                     United States District Court
                                      Southern District of Ohio
                                       __________________

                                    Related Case Memorandum
                                            Civil Cases

TO:             Judge Matthew W. McFarland and Judge Michael R. Barrett

FROM:           Emily Hiltz                    , Case Administrator

DATE:           7/1/2021

SUBJECT:        Case Caption:     William Powell v. The Kroger Company, et al.

CASE:           Case Number:      Doc. 1:21-cv-345 1

DISTRICT JUDGE:                   Matthew W. McFarland
                                             7/7/2020 – Case filed in District of Colorado
                                  File Date: 5/21/2021 – Case transferred to Southern District of Ohio


This memorandum is to notify you that the Notice of Related Cases (Doc. 86) in the above
referenced case reflects the following alleged related cases:


Related Case:

Case Caption:         Mullins v. The Kroger Company, et al.

Case Number:          Doc. 1:19-cv-964 1                  District Judge:   Michael R. Barrett

File Date:            11/12/2019                          Magistrate Judge:


Related Case(s):

Case Caption:         Wilson v. The Kroger Company, et al.

Case Number:          1:20-cv-00936 1                     District Judge:   Michael R. Barrett

File Date:            11/5/2019                           Magistrate Judge:
   Case: 1:19-cv-00964-MRB Doc #: 76 Filed: 07/07/21 Page: 2 of 3 PAGEID #: 1777

Memo Re: Related Civil Cases
Page


Related Case(s):

Case Caption:       Levi v. The Kroger Company et al

Case Number:        Doc. 1:21-cv-42 1                  District Judge:   Michael R. Barrett

File Date:          1/19/2021                          Magistrate Judge:


Related Case(s):

Case Caption:       Schell, et al. v. The Kroger Company

Case Number:        Doc. 1:21-cv-103 1                 District Judge:   Michael R. Barrett

File Date:          2/11/2021                          Magistrate Judge:


Related Case(s):

Case Caption:       Smith v. The Kroger Company, et al.

Case Number:        Doc. 1:21-cv-350 1                 District Judge:   Michael R. Barrett

File Date:          5/25/2021                          Magistrate Judge:




Revised 7/19/2012
   Case: 1:19-cv-00964-MRB Doc #: 76 Filed: 07/07/21 Page: 3 of 3 PAGEID #: 1778

Memo Re: Related Civil Cases
Page

The District Judges having conferred, we respond to Case Administrator            Emily Hiltz
as follows:


Judges’ Response:

                    We agree that the cases are not related and that the subject case should remain
                    with the Judge to whom it is assigned.

            X       We agree that the cases are related and that the subject case should be
                    transferred to the docket of Judge Barrett

                    We agree that although the cases are related, the subject case nevertheless should
                    remain with the Judge to whom it was assigned.

                    We are unable to agree and will accept any decision made by the Chief Judge.

                    I am the Judge on both/all of the listed cases and have determined that the cases
                    are not related.

                    I am the Judge on both/all of the listed cases and have determined that the cases
                    are related and they shall both/all remain on my docket.

                    Other Direction of Judge: _____________________________________________

                    __________________________________________________________________


                                                  United States District Judge


                                                  /s/ Judge Matthew W. McFarland
                                                  United States District Judge


                                                    s/Michael R. Barrett
                                                  United States District Judge




Cc: Courtroom Deputies




Revised 7/19/2012
